                 IN THE UNITED STATES BANKRUPTCY COURT
             NORTHERN DISTRICT OF ALABAMA, SOUTHERN DIVISION

 IN RE:                                       )
                                              )
 WALKER MACHINE TOOL                          ) CASE NO. 19-04553-DSC11
 SOLUTIONS, INC.,                             ) CHAPTER 11
                                              )
 EIN: XX-XXX0899                              )
                                              )
      DEBTOR.                                 )

                    NOTICE OF CHANGE OF MAILING ADDRESS

       COMES NOW Walker Machine Tool Solutions, Inc. (“Debtor”), and hereby files this

notice of change of address for the mailing of all court documents and correspondence in the

above-referenced bankruptcy matter.

       Walker Machine Tool Solutions, Inc.
       794 Harvest Rd.
       Harvest, AL 35749

                                                        /s/ Stuart M. Maples
                                                        STUART M. MAPLES
                                                        (ABS-1974-S69S)

MAPLES LAW FIRM, PC
200 Clinton Avenue West, Suite 1000
Huntsville, Alabama 35801
Tel: (256) 489-9779
Fax: (256) 489-9720
smaples@mapleslawfirmpc.com




Case 19-04553-DSC11        Doc 87     Filed 08/18/20   Entered 08/18/20 10:02:06     Desc
                                        Page 1 of 4
                                 CERTIFICATE OF SERVICE

        I do hereby certify that on August 18, 2020, a copy of the foregoing document was served
on the following by Electronic Case Filing a copy of the same.

J. Thomas Corbett
Bankruptcy Administrator
1800 5th Avenue North
Birmingham, AL 35203

All parties requesting notice through the Court’s ECF system

        I do hereby certify that on August 18, 2020, a copy of the foregoing document was served
on the following by mailing a copy of the same United States Mail, properly addressed and first-
class postage prepaid.

All creditors listed on the matrix attached hereto

                                                     /s/ Stuart M. Maples
                                                     STUART M. MAPLES




                                                 2

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Label Matrix for local noticing                      DCR Mortgage Partners IX, LP                         LAH Commercial Real Estate
1126-2                                               c/o Baker Donelson                                   c/o Blake Greeves
Case 19-04553-DSC11                                  420 20th Street N.                                   2850 Cahaba Road, Ste. 200
NORTHERN DISTRICT OF ALABAMA                         Suite 1400                                           Birmingham, AL 35223-2361
Birmingham                                           Birmingham, AL 35203-3221
Tue Aug 18 09:49:52 CDT 2020
Prestige Equipment                                   Walker Machine Tool Solutions, Inc.                  U. S. Bankruptcy Court
Attn: Adam Herman                                    P.O. Box 339                                         Robert S. Vance Federal Building
35 Pinelawn Rd Ste 203W                              Trinity, AL 35673-0003                               1800 5th Avenue North
Melville, NY 11747-3177                                                                                   Birmingham, AL 35203-2111


Alabama Department of Revenue                        American Express                                     American Express National Bank
PO Box 327483                                        PO Box 650448                                        c/o Becket and Lee LLP
Montgomery, AL 36132-7483                            Dallas, TX 75265-0448                                PO Box 3001
                                                                                                          Malvern PA 19355-0701


Department of Revenue                                General Counsel                                      (p)INTERNAL REVENUE SERVICE
Jefferson County Courthouse                          State Department of                                  CENTRALIZED INSOLVENCY OPERATIONS
Birmingham AL 35203                                  Industrial Relations                                 PO BOX 7346
                                                     Montgomery AL 36102                                  PHILADELPHIA PA 19101-7346


Internal Revenue Service                             Joyce White Vance                                    Loretta Lynch US Attorney General
P.O. Box 7346                                        US Attorney General                                  US Dept. of Justice
Philadelphia, PA 19101-7346                          1801 4th Ave North                                   950 Pennsylvania Ave NW
                                                     Birmingham, AL 35203-2101                            Washington, DC 20530-0009


Luther Strange                                       Regions Bank                                         Regions Bank
Alabama Attorney General                             PO Box 12926                                         PO Box 1994
PO Box 300152                                        Birmingham, AL 35202-2926                            Birmingham, AL 35201-1994
Montgomery, AL 36130-0152


Samual C. Pierce                                     Secretary of the Treasury                            State of Alabama
Baker, Donelson, Bearman et al.                      1500 Pennsylvania Ave., NW                           Department of Revenue Legal Division
420 20th Street North                                Washington, DC 20220-0001                            PO Box 320001
Birmingham, AL 35203-5200                                                                                 Montgomery, AL 36132-0001


State of Alabama Dept of Revenue                     U.S. Securities and Exchange Commission              United States Attorney
P O Box 320001                                       Branch of Reorganization                             Northern District of Alabama
Montgomery AL 36132-0001                             950 East Paces Ferry Road Ste 900                    1801 Fourth Avenue North
                                                     Atlanta, GA 30326-1382                               Birmingham, AL 35203-2101


J. Thomas Corbett                                    Jon A Dudeck                                         Stuart M Maples
Bankruptcy Administrator                             Bankruptcy Administrator-Bham Office                 Maples Law Firm, PC
1800 5th Avenue North                                1800 5th Ave N Rm 132                                200 Clinton Avenue W.
Birmingham, AL 35203-2111                            Birmingham, AL 35203-2126                            Suite 1000
                                                                                                          Huntsville, AL 35801-4919



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).

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Internal Revenue Service                             (d)Internal Revenue Service
801 Tom Martin Dr                                    P O Box 21126
Birmingham AL 35211                                  Philadelphia PA 19114




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)American Express                                  (d)DCR Mortgage Partners IX, LP                      (d)Internal Revenue Service
PO Box 650448                                        c/o Baker Donelson                                   Centralized Insolvency Operations
Dallas, TX 75265-0448                                420 20th Street N., Suite 1400                       PO Box 7346
                                                     Birmingham, AL 35203-3221                            Philadelphia, PA 19101-7346


(d)Regions Bank                                      End of Label Matrix
PO Box 12926                                         Mailable recipients    26
Birmingham, AL 35202-2926                            Bypassed recipients     4
                                                     Total                  30




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